Case:08-01053-SDB Doc#:70 Filed:07/30/09 Entered:07/31/09 12:47:16                     Page:1 of 22
                                                                                       FILED

                    IN THE UNITED STATES BANKRUPTCY COURT 2069
                     FOR THE SOUTHERN DISTRICT OF GEORGIA	          JUL 30 PH 1:50
                                AUGUSTA DIVISION	          U •.-..	        I
                                                                             CYCOURT
IN RE	                                                                             A1UEL
                                                                                   RAY,  L. CLERK


DALE AND DEBORAH CROCKER,	                                        Chapter 13

                      Debtors,	                                   Case No.: 04-14200

DALE AND DEBORAH CROCKER,

                      Plaintiff,	                                 Adversary No. 08-1053-SDB "
V.

NCO FINANCIAL SYSTEMS, INC. et . al.

                      Defendants.
                                                              /

                                    I[S[IYi[I) I lei 311) J i NP hiCi

         Defendant, NCO Financial Systems, Inc. ("NCO" or "defendant"), by and through its

undersigned counsel, files this Notice of Filing and states:

         Previously, NCO filed a Motion for Summary Judgment as to Counts 1-3 along with

Exhibits. Exhibit 5 to the Motion was an Affidavit. Exhibits to the Affidavit were (A)

Educap correspondence and (B) NCO account Notes. NCO incorrectly referred to the NCO

account notes as Exhibit 6 instead of Exhibit B. In addition, the account notes were

inadvertently removed from the filing. The Affidavit has been corrected to correct the

scrivener's error and to contain the NCO account notes, which are attached hereto.

         DATED this 29th day of July 2009.

                              Respectfu



                              Kennet'f C. Grace, Esq. (Pro Hac Vice)
                              FL Bar No.: 0658464


                                               Page 1 of

                                                                                        27"
Case:08-01053-SDB Doc#:70 Filed:07/30/09 Entered:07/31/09 12:47:16                                        Page:2 of 22



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                                         9009 Corporate Lake Dr.; Ste. 300-S
                                         Tampa, FL 33634
                                         Telephone No.: (813) 890-2465
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                                         David Israel, Esq. (Pro Hac Vice)
                                         LA Bar No.: 7174
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                                         3850 N. Causeway Blvd., Ste. 1240
                                         Metairie, LA 70002
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                                         McLArN & MERRITT, P.C.
                                         3445 Peachtree Road, N.E., Suite 500
                                         Atlanta, GA 30326-3240
                                         Telephone No.: (404) 365-4527
                                         Facsimile No.: (404) 364-3138

                                         Counsel for Defendant, NCO

                                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 29th day of July 2009 a copy of the foregoing
document was sent via facsimile and U.S. Mail First Class to: Zane P. Leiden, Esq., Leiden and
Leiden, 330 Telfair Street, Augusta, GA 3090	           s Cosper, Esq., Hull, Towill, Norman,
Barrell & Salley, P.O. Box 1564, Augusta	    30 3-15



                                         A




N:\NCO\Crocker, Deborah & Dale (6947-08-23576)\Pleadings\Crocker v NCO (Notice of Filing re Exhibit)doc




                                                            Page 2 of 2
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION



  DALE AND DEBORAH CROCKER 	                              Chapter 13

                      Debtors,	                           Case No.: 04-14200

  DALE AND DEBORAH CROCKER,

                      Plaintiff,	                         Adversary No. 08-1053-SDB


  NCO FINANCIAL SYSTEMS, INC. et. al.

                      Defendants.
                                                   /
                                 NCO AFFIDAVIT
       JN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT AS TO COUNTS 1-3

  STATE OF NEW YORK
  COUNTY OF ERIE

        BEFORE ME, the undersigned authority, personally came and appeared Mike Noah
 who, after being duly sworn, did depose and state:
 1.     1 am Senior Vice-President for NCO Financial Systems, Inc. ("NCO"). In that
 capacity, I am familiar with and have personal knowledge of NCO's business operations, and
 collection account records used and maintained in the ordinary course of business. I have
 reviewed all business records, pleadings, correspondence, and discovery in this matter.
 Additionally, I investigated plaintiffs' claims and have personal knowledge regarding what
 NCO did and did not do in its attempts to collect on the Crocker's debts.
 2.      On August 23, 1995, plaintiffs co-signed for a student loan for their daughter. On
 July 22, 1996, plaintiffs co-signed for a second student loan for their daughter. By
 cosigning, plaintiffs agreed to pay all principal, interests, costs, and fees stemming from
 the collection of the student loans.
 3.     Plaintiffs filed for bankruptcy on November 18, 2004. Plaintiffs listed Plato, care
 of Loan Servicing Center, on the bankruptcy schedules and mailing matrix regarding the
 subject debt. Educap, Wells Fargo, and NCO were not listed on any schedule or mailing
 matrix. On December 9, 2004, J3ducap, through its account servicer, Wells Fargo, filed 2
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 proofs of claim totaling $4,644.25. Plaintiffs' modified bankruptcy plan was confirmed
 on April 25, 2005. After the filing of the bankruptcy petition and the proofs of claim
 additional interest accrued and collection costs and fees matured or continued to mature.
 See Exh. A, Educap Correspondence.
 4.      Plaintiffs paid a total of $4,737.43 to the trustee/bankruptcy court to be applied to
 the debt owed to Educap. Plaintiffs paid $93.18 more than what was contemplated in the
 proofs of claim. It is unknown why these monies were paid or bow ]3ducap applied these
 monies. With regard to money application, it appears that Educap applied a portion first
 to collection fees, next to interest, third to collection costs, and last to principal. Plaintiffs
 received a discharge on October 30, 2006. The trustee issued its final report and account
 on November 15, 2006. The Final Decree was signed and the bankruptcy case was
 closed on December 21, 2006.
 5.      According to Wells Fargo on behalf of Educap (hereinafter "Wells/Educap"), the
 $4,737.43 paid to Educap was insufficient to satisfy the full amount of the debt including
 all principal, interest, and collection costs and fees owed to Educap. See Exh. A, Educap
 Correspondence. The proofs of claim filed did not contemplate post-petition interest or
 collection costs and fees. At the conclusion of the bankruptcy, Wells/Educap calculated a
 remaining balance owed of $2,306.73 constituting student loan principal, student loan
 interest, and collection costs related to the collection of both student loans. See Exh. A,
 Educap Correspondence. Educap subsequently attempted to collect the remaining
 balance but was unsuccessful.
 6.     On January 9, 2007, Educap sold the 2 loans and remaining balances to NCO
 Portfolio Management. Wells/Educap represented to NCO that plaintiffs owed a total
 balance of $2,306.73 constituting student loan principal, student loan interest, and
 collection costs related to the collection of 2 student loans. See Exh. A, Educap
 Correspondence. According to Wells/Educap, account no. 631090 assigned reference no
 LJ1680 constituted principal of $79.67, interest of $8.96, and collection costs/fees of
 $629.46 for a total of $718.09. Account no. 878087 assigned reference no. LJ1681
 constituted principal of $150.06, interest of $16.74, and collection costs/fees of $1,421.84
 for a total of $1,588.64. See Exh. A, Educap Correspondence,

        6.	    NCO Portfolio Management, in turn, placed Plaintiffs' 2 accounts with
 NCO for collection. From February 6, 2007 to August 2, 2007, NCO engaged in
 collection efforts. In particular, on February 6, 2007, March 10, 2007, and July 12, 2007,
 NCO mailed plaintiffs collection notices seeking payment of the debt. Plaintiffs claim
 that their lawyer mailed NCO 3 letters informing NCO of his representation, disputing
 the debt, and requesting NCO cease and desist its collection efforts. NCO's records,
 however, reflect receipt of only 1 letter. NCO received and processed the July 30, 2007
 letter on August 2, 2007. See Exhibits NCO Account Notes. Subsequent to August 2,
 2007, NCO ceased contacting the plaintiffs. See Exhibit X NCO Account Notes. Any
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   communication subsequent to August 2, 2007 was directed to counsel for plaintiffs
   and/or was initiated by an entity other than NCO for which NCO is not responsible.

        7.	    Up until its receipt of a disputes NCO had no reason to disbelieve the
  information provided to it by its client.

         I have provided this sworn affidavit of my own free will under penalty of perjury
  and the information contained in this affidavit is accurate to the best of my knowledge,
  information and belief. 1 	                        Ii


  Sworn to and subscribed before me this	
                                            7    day of July, 2009.



  S'&OLA^.
  NOTARY PU LIC

  My Commission Expires:	       ±.   3O1	13	              [,Cal] HOSE In .1. NtL*)1
                                                                 Moliry Pubh 3is c W*
                                                                 QuiWd ii	              lo l-.
  N:NCO\Crocker, Deborah & Date (6947-08-23576)\Pleadings\Cmckcr v NCO W AFF 2),doe
Case:08-01053-SDB Doc#:70 Filed:07/30/09 Entered:07/31/09 12:47:16   Page:6 of 22




              EXHIBIT "A"
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This is what IJWells Fargo had at the me of the loan sale to NCO. (Fees is mo •1 ely charged past collection
fees that have not been paid).

878087:
Principal 150.06
Interest	  16.74
Fees	      1421.84

631090
Principal 79.67
Interest	  8.96
Fees	      629.46


Thanks

Patrick D. Ostinato
                           	
Collection Systems Manager                                                                                      U
Loan to Learn, an EduCap Inc. Program
Office: 703-674-4767
Fax: 703-674-4677
postinatoloantoleam.com




LI


                                                                                                                I
	


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    Money posts in our system to Collection Fees first, Interest second, Miscellaneous and Late Fees tbird aM
    Principle last from the oldest bill d1 'onward 	                                    tT


       -	                          - •i— -	                            ------	                     - J_L
                 LJ
                                                                           -




    E11_E_J
                              -	       -	         -	 -? -	            _	          -	         --	     -
            -
    Patrick D. Ostinato
    Collection Systems Manager
    Loan to Learn an EduCap Inc. Program
    Office: 703-674-4767
    Fax: 703-674-4677
    posinnto@loantolearncom
Case:08-01053-SDB Doc#:70 Filed:07/30/09 Entered:07/31/09 12:47:16   Page:9 of 22




              EXHIBIT "B"
	


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                                            pur-111680
       From: "NCO Automated Report Generator (dmpftw)'ncogroup.com
       Sent: Monday, November 10, 2008 10:37 AM
       To: Berman, Maxine
       Subject: Pur-01680	             -



                                         FACT    SHEET

       CRS :         LJ1680                              client #:	   NCOED1-3
       Name:         CROCKER, DALE                     NCO/ASGNE OF EDUCAP, INC
       Address:      C/O ZANE P. LEIDEN ESQ            ACct #:	     0000631090
                     330 TELFAIR STREET
       City/State:   AUGUSTA, GA 30901-2450            Regarding: EDUCAP
       Home Phone:   (706) 724-8548                    Amt Refered:	     79.67
       Work Phone:   (000) 000-0000                    Current Bal:	      79.67
       Soc Sec No:    XXX-XX-XXXX                      Comm Rate:	       32.000%
       Employer:                                         Costs:	             0.00
                                                         Ck chg/Fe:	         0.00
                                                         Other	   639.93
       Status:	      30 BANKRUPTCY CH7                   Interest Rate:	  11.120%
       Coil Unit: 666 LEGAL REST ACCT                    Interest Amt:	     16.49
      Date Last: 12/05/05                               Date Received: 01/09/07
      Activity Code: 10 ACTIVE DEBTOR                      Return on 11/10/08 30
      PrevDebtorNo Last: IB4E                    First: CORRESPONM
      Co Maker	    Last:                         First:
             ss#	   XXX-XX-XXXX
             Home (000) 000-0000
             Enlp	  (000) 000-0000
      EftNtcDate	   00/00/00
      EftNtcCode
      EftOpti 0 flOut
      EftMai 1 RtUrn
      LastNtcDate 00/00/00
      LastNtcCode

        HP 706-790-1829 NIS 4 XNCMG CA




                   -PAYMENTS ---------------- -------------- TRANSACTIONS --------------
      --Date--	       Amount	 Code Rate --DATE- - TIME AC/RC ------COMMENT---- ID
     01109107	                                                          	
                        0.00	   97	           01/10/07 06:35 CS/10 	                       SYS
                                              01/10/07 06:35 FA/BK                         SYS
                                                 RECD BK DATA,ACCT IJPDATED,REPORT   REV
                                                 IEW                	
	01110107    06:35 cc/cc                                                                   SYS
                    DOl-ADDED BANKRUPTCY 	
	 0 1/10/07 06:35 Cc/CC                                                                    5YS
                    KO0-ADDED ATTORNEY 	
                 01/10/07 06:35 cc/cc                                                      SYS
                    K00-ADDED TRUSTEE INFO
                                       	
                 01110107 06:35 CC/cc                                                      SYS
                                                K®-ADDED DEFENDANT INFO
                                               Page 1
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                                     Pur-U1650             	
                                     01110107 08:36 CK/NI	                      SYS
                                     01/10/07 08:36 MINI	                       SYS
                                     01/10/07 08:36 IR/GI                       sY5




                       	
L31680 CROCKER, DALE                                           Page 2
            PAYMENTS ---------------- ------------- TRANSACTIONS --------------
--Date--	      Amount	   Code Rate --DATE--- TIME AC/RC ----COMMENT---- ID
                                     01/10/07 08:36 AB/NI                       SYS
                                     01/10/07 08:36 AD/NI                       SYS
                                     01/10/07   08:36 All/NI                    SYS
                                     01/10/07   09:03 CK/NT                     SYS
                                     01/10/07   09:03 FA/NI                     SYS
                                     01/10/07   09:03 IR/GI                     SYS
                                     01110107   09:03 AB/GI                     SYS
                                     01/10/07 09:03 AD/GI                       SYS
                                     01/10/07 09:03 AH/NI                       SYS
                                     01/11/07 10:13 CC/CC SCORE-000             SYS
                                      01/11/07 10:13 CC/CC                      SYS
                                          DEBTOR CREDIT BUREAU DATA ON 0 SCREE
                                          N
                                     01/15/07 20:23 CG/IJR                      SYS
                                          SOL DATE 00 00 00
                                     01/30/07 16:01 CO/CO                       NMX
                                          BK FILED AND DISCHARGED
                                     01/30/07 16:01 TA! 	       E01             NMX
                                     01/30/07 16:28 CS/30                       HK3
                                     01/30/07 22:02 CC/CC                       SYS
                                          A01-NA LAST-CROCKER, DEBORAH
                                     01/30/07 22:02 cc/cc A01-NM FIRST-         SYS
                                     02/01/07 00:31 SN/B8 60                    ABM
                                     02/02/07 08:19 TR/8N                       GIG
                                          NIS FOR INMG CALLS
                                     02 / 02 /07 08:19 Cs/1O                    GIG
                                     02/02/07 08:19 CC/CC HP-7067901829        GIG
                                     02/06/07 00:50 SN/si                       -CB
                                     02107107 00:46 SN/B6 60                    -Cs
                                     02/25/07 09:49 TA!	        E30             JA3
                                     03/10/07 00:24 SN/U                       ABM
                                    05/04/07 16:12 SU/NI                       SYS
                                    05/04/07 16:12 SU/NI                       SY5
                                    07/05/07 12:38 Su/NI                       SYS
                                    07/05/07 12:38 SU/NI                       SYS
                                    07112107 00:35 SN/R                        ABM
                                    07/13/07 16:39 BK/CO                       SY5
                                         LISTED WITH TELETRACK
                                    08101107 09:50 CC/CC COLL UNIT E25         EDC
                                    08/01/07 09:50 SR/SC                       EDC
                                         EDUCAP TO AGENCIES
                                    08102107 18:37 Ar/IR                       14L
                                         DEBTOR FORWARDED TO AGENCY
                                    08/02/07 18:37 CC/CC                       141
                                        NCO COMM 27.00 - CBR14458207
                                    08102107 18:37 Cc/Co                       141
                                        FORWARDED TO NNZ
                                        PHONE NUMBER 877-867-3787
                                       Page 2
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                                      Pur-L31680
                                      08/02/07 18:37 CC/CC COLL UNIT YAY 14L
                                      08/02/07 18:37 CS/40               14L
                                      08103107 03:44 AT/IR               SYS
                                         NEW PLMT - BALANCE UPDATE SENT
                                      08/03/07 12:12 CS/58               MVB
                                      08/03/07 12:12 cs/97               MVB




L11680 CROCKER, DALE                                         rage 3
             PAYMENTS---------                    TRANSACTIONS--------------
--Date- -	      Amount	   code   Rate --DATE-- TIME AC/RC ----COMMENT---- ID
                                      08/03/07 12:14 cc/cC                      MVB
                                         A1-2440 YATES DR
                                      08/03/07 12:14' CC/CC ADDRESS 2           MVB
                                      08/03/07 12:14 CC/CC                      MVB
                                         CSZ-AUGUSTA	     GA 309060000
                                      08/03/07 12:14 CC/CC WORK PHONE           MVB
                                      08/03/07 12:14 CC/CC AUX1 P05 0 -         MVB
                                      08/03/07 12:14 IM/SC                      MVB
                                        INCOMING MAIL - RECD CERTIFIED BK
                                        AND MOTION TO REOPEN CHAP 13 SENT
                                        TO 1DM AND SCAN
                                     08/03/07 12:15 AT/LR c101 NN2              MVB
                                     08/03/07 12:20 CC/CC HP- 0000000           MVB
                                     08/03/07 12:20 CC/CC wp-7067249727         MVB
                                     08/03/07 14:28 TA! 	    NN2                NMX
                                     08/03/07 14:40 RM/CC                       NMX
                                        RMVE FROM CBR-C32
                                     08/03/07 14:40 cc/cC wp-8882289035         NMX
                                     08/06/07 16:42 CC/CO                      SYS
                                        MASTER FORWARDED FLAG REMOVED
                                        FORWARD FLAG WAS F NOW R
                                     09/06/07 10:36 SR/SC                      ZHM
                                        NO DOCS AVAILABLE,RETURN FOR REPURCH
                                        ASE
                                     09/06/07 10:36 CS/67                      ZHM
                                     09/06/07 10:36 TA/	     1DM               ZHM
                                     09/06/07 10:36 CC/CC                      ZHM
                                        RETURN NCOED13-0000631090
                                     09/07/07 14:38 CS/27                      X4R
                                     09/07/07 14:38 TA!	     PUR               X4R
                                     09/07/07 14:38 Cc/CC                      x4R
                                        UNRTRN NCOED13-0000631090
                                     09/22/07 14:16 CS/67                      SYS
                                     09/22/07 14:16 FA/BK                      SYS
                                        RECD SK DISMISSAL, ACCTS UPDATED
                                     09/27/07 15:07 CO/CO	               ,	    U3LJ
                                        SK FLD AND DSCHGRD
                                     09/27/07 15:07 cS/85	                     U3U
                                     10/01/07 13:45 TA! 	    1DM	              BUR
                                     10122107 19:27 CG/UR	                     SYS
                                        50L DATE 10 07 09
                                     12/22/07 13:40 CC/CC DO0-BCN-0	           sicr
                                     12/22/07 13:40 CC/CC DOO-BCT-AUGUSTA      BKT
                                     12/22/07 13:40 CC/CC	                     BKT
                                        000-BBD-00 00 00
                                       Page 3
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                                      Pur-LJ1680
                                      12/22/07 13:40 cc/cc                       BKT
                                         D00-BML1-933 BROAD SIR 341 ME
                                      12/22/07 13:40 cc/cc                       BKT
                                         RECD BKT DATA FROM LEXIS NEX]:S-H
                                      12/22/07 13:40 cc/cc K00-'TI-NA-           BKT
                                      12/22/07 13:40 cc/cc KO0-TI-ADD-           BKT
                                      12/22/07 13:40 cc/cc KO0-TI-CT-            BKT
                                      12/22107 13:40 CC/CC KO0-TI-ST-            BKT
                                      12/22/07 13:40 CC/CC KO0-TI-ZIP-           BKT




                       	
LiI680 CROCKER, DALE                                         rage 4

            PAYMENTS ---------------- ------------- TRANSACTIONS --------------
--Date--	      Amount	   code Rate --DATE-- TIME AC/RC -----COMMENT---- ID
                                      12/22/07 13:40 cc/Cc                      81(1
                                         KO0-TI- PH -0000000000
                                      12122107 13:40 CC/CC WH $KP - SADD        SYS
                                     01/14/08 17:37 cc/cc                       SYS
                                         ACTIVITY-ON-0000631090
                                     01/16/08 20:10 BK/CO                       SYS
                                         DELETED FROM TELETRACK
                                     07/25/08 19:48 CG/UR                       SYS
                                         SQL DATE 09 07 08
                                     07/31/08 18:40 cc/cc AUX2 POS 19-          SYS
                                     07/31/08 18:40 CC/CC AUX2 POS 21-          SYS
                                     11/03/08 16:08 CC/CC ACCT VIEW ONLY        DLO
                                     11/03/08 16:15 IM/SC                       MVB
                                         RECD ADVERSARY ...CASE NO 0801053SDB
                                         SENT TO COMPLIANCE
                                     11/10/08 10;23 CS/27                       DMP
                                     11/10/08 10:24 cc/cc                       DMP
                                        Al- ZANE P. LEIDEN
                                     11/10/08 10:25 TA/	        PUR             DMP
                                     11/10/08 10:27 SR/SC                       DMP
                                        RECD ADVERSARY FROM XDM TODAY SENDIN
                                        G TO SESSIONS
                                     11/10/08 10:27 cc/cc                       DM1'
                                        RETURN NCOED13-0000631090
                                     11/10/08 10:34 SR/SC                       DM1'
                                        REQ DELETION AND UDF

Date Printed: Nov 10, 2008




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                                   Pur-LJ1680




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                                           Pur-LJ1681
    From: "NCO Automated Report Generator (dmpftw)"cncogroup.com
    Sent: Monday, November 10, 2008 10:37 AM
    To: Berman, Maxine
    subject: Pur-111681



                                     FACT    SHEET

    CRS #:      LJ1681                               Client #:	   NCOED1-3
    Name:       CROCKER, DEBORAH                   NCO/ASGNE OF EDUCAP I INC
    Address:    C/O ZANE P. LEIDEN ESQ             AcCt #:	     0000878087
                330 TELFAIR STREET
    City/state: AUGUSTA, GA 30901-2450             Regarding: EDUCAP
    Home Phone: (706) 724-8548                     Mit Refered:	      150.06
    Work phone: (000) 000-0000                     Current Bal:	    150.06
    Soc Sec No: XXX-XX-XXXX                        Comm Rate:	      37.000%
    Employer:     CEASE AND DESIST                 Costs:	            0.00
                                                   Ck Chg/Fee:	       0.00
                                                   Other 1441.43
    Status:	    30 BANKRUPTCY C}-17                Interest Rate:	  11.150%
    Coil Unit:  666 LEGAL REST ACCT                Interest Amt:	    31.19
    Date Last: 12/05/05                            Date Received: 01/09/07
    Activity Code: ER LEXIS HIT                        Return on 11/10/08 30
    PrevDebtorNo Last: IB4E                   First: CORRESPONM
    Co Maker	    Last:                        First:
            SS#	   XXX-XX-XXXX
            Home (000) 000-0000
            Emp	   (000) 000-0000
    EftNtcDate	    00/00/00
    EftNtcCOde
    EftOpti onOut
    EftMai 1 Rturn
    LastNtcDate 00/00/00
    LastNtcCode

      HP 706-790-1829 NIS 4 INCMG CA




    ----------- PAYMENTS ---------------- ------------- TRANSACTIONS --------------
    --Date--	      Amount	   Code Rate --DATE-- TIME AC/RC ----COMMENT---- ID
                                                                	
    01/09/07	        0.00	   97	           01/10/07 06:35 CS/1 	                    5YS
                                          01110107 06:35 FA/SK                      SYS
                                             RECD BK DATA,ACCT UPDATED,REPORT REV
                                             I EW                   	
                                          01/10/07 06:35 cc/cc                    SYS
                                             D01-ADDED BANKRUPTCY 	
                                          01/10/07 06:35 CC/CC                    SYS
                                             KOO-ADDED ATTORNEY 	
                                          01/10/07 06:35 CC/CC                      SYS
                                             KO0-ADDED TRUSTEE INFO
                                                                	
                                          01110107 06:35 CC/CC                     SYS
                                             KOO-ADDED DEFENDANT INFO
                                            Page 1
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                                   Pur-L)1681
                                   01/10/07 08:36 cK/NI	                     SYS
                                   01/10/07 08:36 FAIN!	                     SYS
                                   01/10/07 08:36 IR/GI	                     SYS




L31681 CROCKER, DEBORAH 	                                  Page 2

            PAYMENTS ---------------- -------------TRANSACTIONS
--Date--	      Amount	   Code Rate --DATE-- TIME AC/RC ----COMMENT---- ID
                                   01/10/07 08:36 AB/NI                    SYS
                                   01/10/07 08:36 AD/NI                    SYS
                                   01/10/07 08:36 AH/NI                    SYS
                                   01110107. 09:03 CK/NI                   SYS
                                   01110107 09:03 FAIN!                    SYS
                                   01/10/07 09:03 IR/GI                    SYS
                                   01/10/07 09:03 AB/GI                    SYS
                                   01/10/07 09:03 AD/GI                    SY5
                                   01/10/07 09:03 AH/NI                    SYS
                                   01/11/07 10:13 cc/cc SCORE-000          SYS
                                   01111107 10:13 cc/Cc                    SYS
                                      DEBTOR CREDIT BUREAU DATA ON 0 SCREE
                                      N
                                   01/15/07 20:23 CG/UR                    SYS
                                      SOL DATE 00 00 00
                                   01/30/07 16:01 co/CO                    NMX
                                     BK FILED AND DISCHARGED
                                   01/30/07 16:01 TA!	     E01               NMX
                                   01/30/07 16:29 CS/30                      HK3
                                   01/30/07 22:02 cc/cc                      SYS
                                     A01-NA LAST-CROCKER, DALE
                                   01/30/07 22:02 CC/CC A01-NM FIRST-        SYS
                                   02101107 00:31 SN/B8 60                   ABM
                                   02/02/07 08:18 TR/ND                      BA2
                                      7067901829 2AEDUCAP
                                   02/02/07 08:23 TR/BN                      GIG
                                     NIS 4 INCMG CALLS
                                   02/02/07 08:23 CC/CC HP-7067901829        GIG
                                   02/06/07 00:50 SN/B1                      -CB
                                   02/06/07, 14:38 TR/ND                     'Pg
                                   02/07/07 00:46 SN/86 60                   -CB
                                   02/12/07 08:14 T0/BN                      GIG
                                     NIS 4 INCMG CALLS AT COS HP
                                   02/12/07 08:15 CC/Cc A10-STATUS-22        GIG
                                   02/12/07 08:15 cc/cc                      GIG
                                      A01-HP-7067901829
                                   02/16/07 08:11 1W/AM                      BA2
                                      7067969181 2AEDUCAP
                                   02/22/07 08:36 DR/BN                      1P9
                                     FTP SAID WRONG NUMBER AND IMMED
                                     HUNGUP BEFRE I COULD SAY ANYTHING
                                     ELSE
                                  02/26/07 18:25 1W/NA                      BAZ
                                     7067969181 2AEDUCAP
                                  02/28/07 15:15 DR/ND                      'P9
                                  02/28/07 15:15 cc/cc wP-7057969181        1P9
                                  02/28/07 15:15 CS/b                       'Pg
                                  03/09/07 09:12 TA! 	   E30                JA3
                                    Page 2
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                                   Pur-LJ1681
                                   03/10/07 00:24 SN/U                   ABM
                                   05/04/07 16:12 SU/NI                  SYS
                                   05/04/07 16:12 . SLJ/NI               SYS
                                   05/05/07 08:15 TA!	        E32        OcW
                                   07/05/07 12:38 SU/NI                  SYS
                                   07/05/07 12:38 si/NI                  sys




                          	
L31681 CROCKER, DEBORAH                                      Page 3
            PAYMENTS---------------- ------------- TRANSACTIONS
--Date--	      Amount	   code Rate --DATE-- TIME AC/RC ----COMMENT---- ID
                                   07112107  00:35 SN/R                  ABM
                                   07/13/07  16:39 BK/CO                 SYS
                                      LISTED WITH TELETRACK
                                   08/01/07  09:50 CC/CC COLL UNIT E25   EDC
                                   08/01/07  09:50 SR/SC                 EDC
                                      EDUCAP TO AGENCIES
                                  08/02/07 18:37 AT/IR                   i4L
                                      DEBTOR FORWARDED TO AGENCY
                                  08/02/07 18:37 CC/CC                   14L
                                      NCO COMM 27.00 - CBR14458208
                                  08/02/07 18:37 cc/co                   14L
                                      FORWARDED TO NN2
                                      PHONE NUMBER 877-867-3787
                                  08/02/07 18:37 Cc/cc COLL UNIT YAY     14L
                                  08/02/07 18:37 CS/40                   14L
                                  08/03/07 03:44 AT/IR                   SYS
                                     NEW PLMT - BALANCE UPDATE SENT
                                  08/03/07 12:16 cs/58                   MVB
                                  08/03/07 12:18 CC/CC                   MVB
                                     A1-2440 YATES DR
                                  08/03/07 12:18 CC/CC ADDRESS 2         MVB
                                  08/03/07 12:18 CC/Cc                   MVB
                                     CSZ-AUGUSTA	        GA 309060000
                                  08/03/07 12:18 CC/CC HP- 0000000       MVB
                                  08/03/07 12:18 cc/cc WORK PHONE        MVB
                                  08/03/07 12:18 CC/CC AUX1 PoS 0 -      MVB
                                  08/03/07 12:18 IM/SC                   MVB
                                     INCOMING MAIL - RECD CERTIFIED BK
                                     AND MOTION TO REOPEN CHAP 13 SENT
                                     TO 1DM AND SCAN
                                  08/03/07 12:19 AT/LR C101 NN2          MVB
                                  08/03/07 14:39 RM/CC                   NMX
                                     RMVE FROM CBR-c82
                                  08/03/07 14:39 RM/Cc                   NMX
                                     RMVE FROM CBR-CB2
                                  08/05/07 12:24 CC/CO                   SYS
                                     MASTER FORWARDED FLAG REMOVED
                                     FORWARD FLAG WAS F NOW R
                                  08/15/07 11:33 IM/SC                   W5C
                                     IN ACCESS 07 63792
                                  09/22/07 14:16 CS/67                   SYS
                                  09/22/07 14:16 FA/BK                   SYS
                                     RECD BK DISMISSAL, ACCTS UPDATED
                                  09/27/07 15:08 CO/CO                   U3U
                                     BK FLD AND DSCHGRD
                                    Page 3
	


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                                         Pur-LJ1681
                                         09/27/07 15:08 CS/85                    U3U
                                         09/27/07 15:08 CS/40                    U3U
                                         12/22/07 13:40 CC/CC D00-BCN-0          BKT
                                         12/22/07 13:40 CC/CC D00- BCT-AUGUSTA   BKT
                                         12/22/07 13:40 CC/CC                    BKT
                                            D00-BBD-00 00 00
                                         12/22/07 13:40 CC/CC
                                            000-BML1-933 BROAD STR 341 ME
                                         12/22/07 13:40 CC/CC                    BKT




    LJI681 CROCKER, DEBORAH	                                     page 4
                PAYMENTS ---------------- ------------- TRANSACTIONS --------------
    --Date--	     Amount	 Code Rate --DATE-- TIME AC/RC ----COMMENT---- ID
                                            RECD BKT DATA FROM LEXI5 NEXIS-I-I
                                         12/22/07 13:40 cc/cc K00-TI-NA-         BKT
                                         12/22/07 13:40 cc/cc K00-TI-ADD-        BKT
                                         12/22/07 13:40 cc/cc K00-TI-CT-         BKT
                                         12/22/07 13:40 CC/CC K00-TI-ST-         BKT
                                         :12/22/07 13:40 cc/cc Ko0-TI-zIP-       BKT
                                         12/22/07 13:40 cc/cc                    BKT
                                            K00-TI- PH-0000000000
                                         12/22/07 13:40 CS/58                    BKT
                                         12/22/07 13:40 TA!	      NN2            BKT
                                         12/22/07 13:40 cc/cc WH SKP - SADD      SYS
                                         01/14/08 17:37 cc/cc                    SYS
                                            ACTIVITY-ON -0000878087
                                         01/16/08 20:10 BK/CO                    SYS
                                            DELETED FROM TELETRACK
                                         03/18/08 17:18 TA! 	     E09            DEN
                                         03/25/08 10:30 CS/30                    09
                                            MNL RV BK FILED NO DISCI-IGRED
	03/28/08                  09:08        TA! 	           2M1                      09
                               04/30/08 11:37 TR/LM                              DKQ
                                  MRD..THIS IS A BUSINESS PHONE.SECT
                                  TOOK MESG
                               04/30/08 12:52 Ic/cM                              DJ 7
                                  ATTORNEY ZANE LEIDEN,WILL FORWARD
                                  LETTER OF REP. AND COPY OF DISCHARGE
                                  PAPERS SHOWING THIS LOAN WAS PAID
                                  IN FULL.....
                               04/30/08 18:58 CO/CO                              WWR
                                  RJLCOPY_OF BANKRUPTCY INFORMATION
                                  SHOWING THAT THIS ACCOUNT WAS
                                  INCLUDE IN THE DISCHARGE.
                                  SENT DOCS TO SCAN
                               07/03/08 13:06 cc/cc WH SKP - SHP                 LXN
                               07/03/08 13:06 cc/cc                              SYS
                                  ACTIVITY 10 NCOED13-0000878087
                               07/25/08 19:48 CG/UR                              SYS
                                  SOL DATE 10 07 09
                               07/31/08 18:40 cc/cc AUX2 P0S 19-                 SYS
                               07/31/08 18:40 cc/cc AUX2 POS 21-                 SYS
                               08/18/08 16:17 CS/58                              ABM
                               08/18/08 16:17 SR/CO                              ABM
                                  STATUS 58 IN ERROR SHOULD HAVE BEEN
                                 Page 4
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                                           Pur-LJ1681
                                              CHANGED AT RECALL
                                                                       	
                                           09/03/08 12:59 TA!	     E05         SYS
                                           09/05/08 14:52 AT/IR                14L
                                              DEBTOR FORWARDED TO AGENCY 	
                                           09/05/08 14:52 cc/cc                14L
                                              NCO COMM 3200 - CBR14458208 	
                                           09/05/08 14:52 CC/CO                14L
                                              FORWARDED TO PM3
                                              PHONE NUMBER 888-355-7515
                                                                               14L
                                           09/05/08 14:52 Cc/cc COLL UNIT BTH I4L
                                           09/05/08 14:52 cS/b




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            PAYMENTS ---------------- ------------- TRANSACTIONS --------------
--Date--	      Amount	   Code Rate --DATE-- TIME AC/RC ----COMMENT----                       ID
                                                                      	
                                       09/06/08 04:42 AT/IR                                  5YS
                                           NEW PLMT - BALANCE 	UPDATE SENT
                                       09/17/08 05:48 A3/IR                                  SYS
                                           20080915 ACKNOWLEDGMENT        	
                                       09/18/08 06:31 AJ/IR                                  SYS
                                          20080916 TED - TRANS          	 UNION CPE BUREA
                                       09/18/08 06:31 A1/IR                                  SYS
                                          20080916 ND LOCATION           	 DATA LOADED
                                       09/18/08 06:31 A/IR                                   SYS
                                          20080916 06 00 11 -	 SKIP EFFORTS INI
                                       09/18/08 06:31 AJ/SN                                  SYS
                                          20080916 1ST DEMAND	 LETTER
                                       09/19/08 17:24 SN/i 	                                 SYS
                                       09/30/08 11:22 AJ/XR                                  SYS
                                          20080926 D SYS THS W5     	       CLSD IN CHPTR
                                       09/30/08 11:22 A3/IR                                  SYS
                                          20080926 RNY TO SND	 INFO VIA FAX SY
                                       09/30/08 11:22 AJ/IR                                  Sys
                                          20080927 09 42 24 - 	
                                       09/30/08 11:22 A/IR                                   SYS
                                          20080926 S NOT SNDNG    	         ANYTHNG WILL R
                                       09/30/08 11:22 AJ/IR                                  SYS
                                          20080926 16 34 27 -	 POSSIBLE ATTRNV
                                       09/30/08 11:22 A/IR                                   SYS
                                          20080926 TO CLLCT 	 ON THS DST ASKD
                                       09/30/08 11:22 M/LM                                   SYS
                                          20080926 TELEPHONE DEMAND
                                                                	               RESIDENCE
                                       09/30/08 11:22 AJ/LM                                  5YS
                                          20080926 TELEPHONE 	 DEMAND RESIDENCE
                                       09/30/08 11:22 AJ/LM                                  SYS
                                          20080926 TELEPHONE 	DEMAND RESIDENCE
                                       09/30/08 11;22 Aj/IR                                  SYS
                                          20080927 09 42 20 	 - MGR REV GVE TO
                                       09/30/08 11:22 AJ/IR                                  SYS
                                          20080927 09 41 17 - 	 COLLECTOR REVIEW
                                       09/30/08 11:22 A3/IR                                  SYS
                                          20080927 INFO WAS RCVD
                                                              	              GVN TO MANGAE
                                       09/30/08 11:22 A/IR                                   SYS
                                          20080927 OSE FOR CLSE
                                         Page 5
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                                    Pur-L31681
                                   09/30/08 11:22 AJ/XR                      SYS
                                      20080926 APRIL OF 2008 SYS WE ARE
                                   09/30/08 11:22 AJ/IR 20080927 T           SYS
                                   09/30/08 11:22 A/IR                       SYS
                                      20080926 EN CASE AND SUE AND HNG UP
                                   10/02/08 05:04 A]/IR                    SYS
                                      20080929 OUNT AS 813 AND WILL CONTAC
                                   10/02/08 05:04 A1/IR                    SYS
                                      20080929 PRC B13 ACCOUNT CLOSED
                                   10102108 05:04 A3/XR                    SYS
                                      20080930 EIDEN AND LEIDEN PERTAINING
                                   10/02/08 05:04 A)/IR                    SYS
                                     20080930 242189-20080930104016 , rr
                                   10/02/08 05:04 A/IR                       SYS
                                     20080930 242189 , ITEM 1




                         	
LI681 CROCKER, DEBORAH                                     Page 6
            PAYMENTS ---------------- ------------- TRANSACTIONS
--Date--	      Amount	   code Rate --DATE-- TIME AC/RC -- --COMMENT---- ID
                                   10/02/08 05:04 A)/IR                      SYS
                                      20080930 242189, rrEM 1
                                   10/02/08 05:04 A)/IR                      SYS
                                      20080929 18 08 12 - MGMT REVIEW. DE
                                   10/02/08 05:04 A)/IR 20080929 NT          SYS
                                   10/02/08 05:04 A1/IR                      5YS
                                      20080930 10 41 08 - DETACHED DOCUMEN
                                   10/02/08 05:04 AJ/IR                      SYS
                                      20080930 10 40 57 - ATTACHED DOCUMEN
                                   10/02/08 05:04 A1/IR                      SYS
                                      20080930 10 42 06 - ATTACHED DOCUMEN
                                   10/02/08 05:04 A:1/IR                     SYS
                                      20080930 10 42 22 RECEIVED FAX FRO
                                   10/02/08 05:04 AJ/IR                      SYS
                                      20080929 18 06 32 - STATUS CHANGED
                                   10/02/08 05:04 AJ/IR                      SYS
                                      20080929 HAS BEEN RESOLVED, CLOSED
                                   10/02/08 05:04 AJ/IR                      SYS
                                      20080929 CLOSE - BANKRUPT
                                   10/02/08 05:04 cs/58                  SYS
                                   10/02/08 05:04 AT/IR                  1114
                                      DEBTOR RECALLED FROM AGENCY - PM3
                                   10/02/08 05:04 CC/CC COLL UNIT PM3    5Y5
                                   10/02/08 05:04 AJ/IR                  SYS
                                      20080930 REOPENING CH 13 CASE. SEE
                                   10/02/08 05:04 AJ/IR                  SYS
                                     20080930 TACKED.
                                   10/02/08 05:04 A:J/IR                     SYS
                                      20080929 Co TO HAVE THEM DEADFILE AC
                                   10/13/08 10:57 CC/CC HP-7067248548        CDR
                                   10/13/08 10:57 cc/cc wP-8882289035        Cog
                                   10/13/08 10:57 IM/SC STAT UNCHNGD         COP.
                                   10/13/08 10:57 RM/CC DELETE CBR-BDC       COR
                                   10/13/08 10:57 CC/CC                      COR
                                      D01-BCN-SOUTHERN DISTRICT OF GEORGIA
                                   10/13/08 10:57 Cc/CC                      COR
                                     Page 6
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                                     Pur-LJ1681
                                        D01-BDF-11-18-04
                                     10/13/08 10:57 CC/CC	                     CDR
                                        D01-BDG-10-30-06
                                     10/13/08 10:57 CC/CC EMPLOYER	            COR
                                     10/13/08 10:57 IM/$c	                     COR
                                        IMAGE 2008101310005622U1681fl 2
                                     10/13/08 10:57 IM/SC	                     COR
                                        FAX - BANKRUPTCY
                                     10/13/08 10:57 IM/SC TABLE 37 	        COP.
                                     10/23108 07:35 cc/CC ACCT VIEW ONLY ACG
                                     10/23/08 07:38 spIrO	                  ACG
                                        5NT UDF TO 3 CBRS ELECTRLY DLT
                                     11/03/08 16:08 cc/cc ACCT VIEW ONLY DLO
                                     11/03/08 16:17 IM/SC	                  MVB
                                        RECD ADVERSARY CASE NO 0801053SDB -
                                        SENT TO COMPLIANCE
                                     11/10/08 10:36 CC/CC	                  DMP
                                        Al- ZANE P. LEIDEN




                          	
LJ1681 CROCKER, DEBORAH                                     Page 7
            PAYMENTS ---------------- ------------- TRANSACTIONS --------------
--Date--	     Amount	 Code Rate --DATE-- TIME AC/RC ----COMMENT--- - ID
                                     11/10/08 10:36 CC/CC HOME PHONE 	         DMP
                                     11/10/08 10:36 SR/SC	                     DMP
                                        RECD ADVERSARY FROM 1DM TODAY SENDIN
                                        G TO SESSIONS
                                     11/10/08 10:36 CC/CC	                     DMP
                                        RETURN NCOED13-0000878087
                                     11/10/08 10:36 TA/BKT	                    DMP
                                     11/10/08 10:36 SR/SC	                     DMP
                                        REQ DELETION AND IJOF

Date Printed: Nov 10, 2008




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            SESSIONS
            FISHMAN                                    2009 JUL 30 PM 1 : 50	           KENr'nmC.GRACE
            NATHAN &                                                         Licensed in the State of Florida
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             ATTORNEYS AT LAW


                                              July 29, 2009

Via FedEx Overnj2it

Clerk of Court
USBC Southern District of Georgia
Federal Justice Center
600 James Brown Blvd
Augusta, GA 30901

          Re: Dale and Deborah Crocker v. NCO Financial Systems, Inc.
              Adversary Case No.: 08-01053-SDB

Dear Clerk of Court:

       Enclosed for filing, please find a copy of NCO's Notice of Filing an Amended
Affidavit originally included as Exhibit 5 to NCO's Motion for Summary Judgment as to
Counts 1-3 and Incorporated Memorandum of Law filed on July 10, 2009 in the above
referenced matter.

          Please do not hesitate to contact me should you have any questions or concerns.




KCG:pld
Enclosure
cc:	      David Israel, Esq. (via e-mail)
          Albert J. Decusati, Esq. (via e-mail)
          Zane Leiden, Esq. (via facsimile & U.S. Mail)
          Chris Cosper, Esq. (via facsimile & U.S. Mail)




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